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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

ANGELA RUSSELL, as Administratrix                                              PLAINTIFF
of the Estate of Jeremy T. Russell, and
on Behalf of the Wrongful Death
Beneficiaries of Jeremy T. Russell

v.                                         CIVIL ACTION NO. 3:22-CV-294-HTW-LGI

MANAGEMENT & TRAINING CORPORATION;
JOHN AND JANE DOE CORRECTIONAL OFFICERS;
VITALCORE HEALTH STRATEGIES, LLC; EVELYN
DUNN; STACEY KITCHES; WILLIAM BRAZIER; and
JOHN AND JANE DOE MEDICAL PROVIDERS                                        DEFENDANTS


                          AFFIDAVIT OF KAREI MCDONALD


STATE OF MISSISSIPPI
COUNTY OF HINDS

        Before me, the undersigned authority, personally appeared _________________,

who being by me first duly sworn, did depose and declare under oath as follows:

        1.      My name is _____________________. I am over the age of twenty-one

years and a resident of _____________ County, Mississippi. I have personal knowledge

of the facts in this Affidavit.

        2.      I have been employed with the Mississippi Department of Corrections

(“the MDOC”) in the position of _______________ at all times relevant to the issues

contained in this Affidavit. I provide this affidavit solely in my professional capacity.

        3.      Pursuant to my employment with the MDOC, I am familiar with the

contracts governing Management & Training Corporation’s (“MTC”) operation of the

East Mississippi Correctional Facility (“EMCF”) as well as the contract between MDOC
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and VitalCore Health Strategies, LLC (“VitalCore”) governing the provision of medical

and mental health services at EMCF (and other facilities). I am further familiar with the

distinct roles, responsibilities, duties, and obligations of both MTC and VitalCore under

these contracts with respect to EMCF.

       4.      VitalCore has a direct contractual relationship with MDOC with respect to

the provision of medical and mental health services at EMCF. It is not a subcontractor to

or contractually affiliated with MTC.

       5.      MTC’s roles, responsibilities, duties and obligations at EMCF are clearly

delineated and set forth in the contracts governing MTC’s operation of EMCF. Such

contracts do not delegate any responsibility for medical, mental health, pharmaceutical or

similar healthcare services at EMCF to MTC. To the contrary, all medical and mental

health services at EMCF have been contracted exclusively to VitalCore.

       6.      The contracts governing MTC’s operation of EMCF do not require or

allow MTC to (i) provide medical or mental health services at EMCF, (ii) employ or

contract with any physicians, nurses, health services administrators, or other trained

medical or mental health professionals at EMCF, (iii) fund any medical or mental health

services at EMCF, or (iv) control, employ, train, supervise, direct or otherwise have any

authority over VitalCore and/or its employees.

       7.      VitalCore’s roles, responsibilities, duties, and obligations are likewise

clearly set forth in its contract with MDOC. The VitalCore contract does not contain any

language that requires VitalCore to defer to MTC or follow MTC’s policies or procedures

with respect to the provision of medical or mental health services at EMCF. Nor does the




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contract delegate or allow VitalCore to delegate to MTC responsibility for any aspect of

the medical or mental healthcare to be provided to inmates at EMCF.

       FURTHER AFFIANT SAITH NOT.

       DATED this _____ day of August, 2023.




       SWORN TO and subscribed before me this the ___ day August, 2023.



                                                   Notary Public

My Commission Expires: ______________________




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